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EXHIBIT A
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CREDITORS' COMMITTEE'S RESPONSIVE STATEMENT

The Court has reviewed and approved the Joint Disclosure Statement and the Specific Disclosure
Statements filed by the proponents of the three proposed plans, and has determined that they
comply with Bankruptcy Code §1125. Although the Court has also reviewed the Responsive
Statements filed by the plan proponents, and resolved certain disputes among the parties in
connection with such statements, the Responsive Statements are not a substitute for the
respective disclosure statements, nor have the Responsive Statements been subject to the
Bankruptcy Code's standard for approval of a disclosure statement. While the Court has allowed
inclusion of the Responsive Statements in this solicitation package, it has not endorsed the
contents of any Responsive Statement.
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Responsive Statement of the Creditors' Committee to the Competing Plans

THE DEBTOR/COMMITTEE/LENDER PLAN IS THE
BEST OPTION FOR GENERAL UNSECURED CREDITORS

The Creditors' Committee supports, and encourages unsecured creditors of Tribune and
its Subsidiaries to vote for, the Plan filed by the Creditors' Committee, the Debtors, Angelo
Gordon, Oaktree and JPMorgan (the "Debtor/Committee/Lender Plan") and to vote against the
two competing plans (the "Competing Plans") filed by: (i) Aurelius Capital Management, LP, the
Indenture Trustee for certain series of the Senior Notes and the Indenture Trustee for the
PHONES Notes (the "Noteholder Plan"); and (ii) King Street Company, L.L.C., King Street
Capital, L.P. and Marathon Asset Management, L.P. in their capacity as Bridge Loan Lenders
(the "Bridge Plan").

A, Recommendation for Voting on Competing Plans

Subsequent to the filing of the Competing Plans, on November 4, 2010, the Creditors’
Committee held a meeting with its professionals to discuss and carefully consider each of the
Competing Plans and the proposed treatment of general unsecured creditors under each of the
plans. Following an extensive review, the Creditors' Committee formally voted to restate its
support for the Debtor/Committee/Lender Plan and to oppose each of the Competing Plans.

Because the Debtor/Committee/Lender Plan provides general unsecured creditors
with substantially greater initial recoveries and more certainty than the Competing Plans,
and for the other reasons described below, the Creditors' Committee recommends that
general unsecured creditors vote to:

ACCEPT the Debtor/Committee/Lender Plan on the BLUE
BALLOT included with the plan solicitation materials
and indicate that it is the creditors' preferred plan; and

REJECT each of the Noteholder Plan (PURPLE BALLOT),
and the Bridge Plan (GREEN BALLOT)

' Two members of the Creditors’ Committee, Wilmington Trust Company and Deutsche Bank Trust Company

Americas, which are Indenture Trustees with respect to the PHONES Notes and certain series of the Senior
Notes, respectively, are co-proponents of the Noteholder Plan.
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B. Why the Debtor/Committee/Lender Plan is
the Best Plan for General Unsecured Creditors

In stark contrast to the Competing Plans, the Debtor/Committee/Lender Plan provides
non-LBO, general unsecured creditors ("Non-LBO Creditors") with significant and fixed
recoveries’ immediately upon effectiveness of the plan. Those recoveries are not subject to the
risks, costs and delays inherent in litigation of the LBO-Related Causes of Action. Below is a
chart comparing the initial distributions to creditors upon the Debtors' emergence from
bankruptcy under the Debtor/Committee/Lender Plan versus the Competing Plans.

Parent: 1.09%

"Step One" Senior Subs: 69.95%

Loans 34.20% 34.20%
Total: 71.03%

Parent: 1.09%

"Step Two” Senior Subs: 69.95%

Loans Total 71.03% 0.00% 0.00%
otal: 03%

Bridge Loans 0.00% 0.00% 0.00%

Senior Notes 32.73% 4.80% 4.80%

The initial distribution to holders of PHONES Notes Claims is subject to contractual subordination and will be
subject to turnover to those holders who are entitled to the benefits of such subordination as provided in, and
subject to any limitations set forth in, the Debtor/Committee/Lender Plan. The EGI-TRB LLC Notes Claims
are subject to challenge under the Debtor/Committee/Lender Plan. Accordingly, it is not anticipated that those
claims will receive an initial distribution under the Debtor/Committee/Lender Plan. To the extent distributions
are made on account of the EGI-TRB LLC Notes Claims, those distributions are also subject to contractual
subordination and will be subject to turnover to those holders who are entitled to the benefits of such
subordination as provided in, and subject to any limitations set forth in, the Debtor/Committee/Lender Plan.

Assumes that litigation over "sharing provisions" of Senior Loan Agreement has not resulted in a final, non-
appealable judgment before effectiveness of the plan but that the Bankruptcy Court nevertheless permits
distributions in respect of "Step One" claims. Also assumes that litigation over allowed amount of PHONES
Notes Claims has not resulted in a final, non-appealable judgment by effectiveness of the plan.

Although the Bridge Plan on its face provides an option for various settlements that would, if accepted by the
relevant parties, potentially result in greater distributions to certain creditors of Tribune as of the Effective Date,
the Bridge Plan is not conditioned upon the implementation of these settlements and the Creditors’ Committee
believes the ability to consummate these settlements is highly unlikely (see below).
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(Ivade) Ciaims 35.18% or 32.73%° 4.3% or 15%° 4.43%
Cras, seainst Subs 100% 8.00% or 25%° 8.00%
PHONES Notes 0.00% 0.00% 0.00%

The settlement of the LBO-Related Causes of Action embodied in the
Debtor/Committee/Lender Plan results in Non-LBO Creditors receiving cash recoveries totaling
approximately $598 million, plus a share of recoveries obtained from the resolution of causes of
action to be assigned to a Litigation Trust and a Creditors’ Trust (together, the "Trusts"). This
$598 million is available for distribution immediately upon plan effectiveness and is not
contingent on future litigation events.

Of the $598 million in total cash recoveries, $521 million is being provided to settle
certain claims against LBO Creditors. Specifically, holders of Senior Loan Claims will
relinquish approximately $401 million in cash to which they would otherwise be entitled if their
claims were allowed in full and without reduction. That cash consideration will be distributed to
the holders of Senior Noteholder Claims and other unsecured creditors of Tribune and the
Tribune Subsidiary Debtors. Additionally, the Debtor/Committee/Lender Plan provides for a
"Step Two/Disgorgement Settlement” against Step Two parties, including current and former
Senior Lenders, Bridge Lenders and Step Two Arrangers who received payments prior to the
Petition Date, which will result in an additional $120 million of cash consideration being
distributed to the holders of Senior Noteholder Claims.

Depends on individual creditor election between receiving a higher all cash distribution or a slightly smaller
cash distribution plus interests in the Litigation Trust.

If the class of Other Parent Claims or the class of General Unsecured Claims against the Guarantor Debtors
votes to accept the Noteholder Plan and that plan is confirmed, individual holders in such accepting classes
may, subject to certain dollar caps, elect to "put" or sell their claims to an entity designated by Aurelius for
higher distributions on the Effective Date of the Plan (which will be the only distributions those electing
creditors will receive). More particularly, under such circumstances, holders of Other Parent Claims may elect
to receive a distribution equal to 15% of their allowed claim, rather than 4.3%, and holders of General
Unsecured Claims against the Guarantor Debtors may elect to receive a distribution equal to 25% of their
allowed claim, rather than 8%.
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At the same time, the Debtor/Committee/Lender Plan provides additional upside to Non-
LBO Creditors, by preserving certain LBO-Related Causes of Action, which will be assigned to
the Trusts, and providing for an allocation of trust proceeds that is favorable to the Non-LBO
Parent Creditors. Specifically, the first $90 million of Trust recoveries’ will be distributed to
Non-LBO Creditors and, after repayment of the $20 million loan from Tribune to fund the
Trusts, 65% of any additional Trust proceeds will be distributed to the Non-LBO Creditors (the
"Parent GUC Trust Preference"). For illustrative purposes only, assuming that Trust recoveries
total $200 million, Non-LBO Creditors would receive $148.5 million (the first $90 million, plus
65% of the net remaining proceeds after repayment of the Tribune loan), while Senior Lenders
would receive $31.5 million (35% of the net remaining proceeds after repayment of the Tribune
loan).

Based on the settlement embodied in the Debtor/Committee/Lender Plan, Non-LBO
Creditors of Tribune and the Subsidiaries will receive significant and certain initial distributions
upon effectiveness of the Debtor/Committee/Lender Plan. Specifically, each general unsecured
creditor of Tribune will receive either a cash payment equal to 35.18% of its allowed claim
amount or a cash payment equal to 32.73% of its allowed claim amount, plus interests in the
Trusts. General unsecured creditors of the Subsidiary Debtors are expected to receive a 100%
recovery in cash. And Senior Noteholders are expected to receive an approximate recovery of
32.73% of their claims, which includes $420 million in cash, plus interests in the Trusts.

Cc. The Settlement Embodied in the
Debtor/Committee/Lender Plan is Fair and Reasonable

The settlement embodied in the Debtor/Committee/Lender Plan was the result of intense,
good faith, and arm's length negotiations that took place before the Honorable Kevin Gross, the
mediator appointed by the Bankruptcy Court and a sitting judge of the United States Bankruptcy
Court for the District of Delaware. The Creditors' Committee believes that the settlement in the
Debtor/Committee/Lender Plan is highly beneficial to Non-LBO Creditors and provides
significant and immediate recoveries without the risks, costs and time delay inherent in litigation
of the LBO-Related Causes of Action.

7 Excluding 90% of the proceeds of disgorgement claims against the Non-Settling Step Two Payees to the extent

necessary to repay any portion of the Step Two/Disgorgement Settlement (the $120 million) backstopped by the
Step Two Arrangers (which amount will not be greater than $18 million),
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THE DEBTOR/COMMITTEE/LENDER PLAN IS
A BETTER OPTION THAN THE NOTEHOLDER PLAN

A, The Noteholder Plan Provides for Lower Initial Distributions
and is Fraught with Unacceptable Litigation Risk

The Noteholder Plan is significantly less favorable to general unsecured creditors than the
Debtor/Committee/Lender Plan because the vast majority of anticipated recoveries under the
Noteholder Plan are fraught with risk since they are dependent on the successful prosecution or
settlement of the LBO-Related Causes of Action. Initial distributions to creditors are much
lower than those under the Debtor/Committee/Lender Plan. As described in the Disclosure
Statement accompanying the Debtor/Committee/Lender Plan, there are a wide range of potential
outcomes with respect to the LBO-Related Causes of Action, from complete failure with respect
to both Step One and Step Two to complete victory. The Examiner's Report analyzed the
recoveries to the Non-LBO Creditors with respect to claims against the Lenders in six different
scenarios.® Only one of the six scenarios, the complete victory scenario, results in Non-LBO
Creditors recovering more than the $598 million which they will receive under the
Debtor/Committee/Lender Plan ($521 million of which is incremental settlement value and $77
million of which is "base case" value, assuming no litigation recoveries). In the other five
scenarios, the incremental recoveries to Non-LBO Creditors resulting from the LBO-Related
Causes of Action range from $0 (complete loss) to approximately $205 million to $244 million
(fraudulent transfer for Tribune at both Step One and Step Two, but only at Step Two for
guarantor subsidiaries).

The wide range of potential litigation outcomes with respect to the LBO-Related Causes
of Action drives the wide range of potential creditor recoveries under the Noteholder Plan. For
example, under the Noteholder Plan: (i) general unsecured creditors of Tribune (Other Parent
Claims) may recover between 4.3% and 100%; (ii) general unsecured creditors at the non-
guaranty Subsidiary Debtors (Other Guarantor Debtor Claims) may recover between 8% and
100%; and (iii) Senior Noteholders may recover between 4.8% and 100%.

The only absolute and assured recoveries to Non-LBO Creditors under the Noteholder
Plan are the lowest recoveries set forth above (i.e., 4.3% to holders of Other Parent Claims, 8%
to holders of Other Guarantor Debtor Claims and 4.8% to holders of Senior Noteholders Claims).
Any additional recoveries are dependent on the successful prosecution or settlement of the LBO-
Related Causes of Action. Although the best case scenarios under the Noteholder Plan yield full
recovery to general unsecured creditors, the Creditors' Committee believes that these scenarios

The Examiner includes two additional scenarios, cases 7 and 8, which are variants on the Examiner's case 3
(Step Two fraudulent transfer at Tribune and guarantor subsidiaries). Cases 7 and 8 add disgorgement proceeds
from actions against Step Two selling stockholders. These disgorgement claims are fully preserved and will be
transferred to the Trusts under the Debtor/Committee/Lender Plan.
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are fraught with risk and do not provide Non-LBO Creditors with any certainty of achieving the
distributions provided in the Debtor/Committee/Lender Plan. Notably, the proponents of the
Noteholder Plan give holders of Other Parent Claims the option to "put," or cash out, their claims
for a 15% recovery, while holders of Other Guarantor Debtor Claims have the option to cash out
their claims for a 25% recovery, in each case subject to certain dollar caps and to acceptance of
the Noteholder Plan by the affected class and to confirmation of that plan.’ Aurelius has plainly
stated its strong belief that the LBO-Related Causes of Action will assuredly yield very large
recoveries. So the low amounts it is offering for Other Parent Claims and Other Guarantor
Debtor Claims would cause a predicament for other unsecured creditors who do not have the
resources, risk tolerance, or desire to wait years for an uncertain and risk-fraught recovery. It is
important to note that these "cash out" recoveries are significantly less than the percentage
recoveries of 35.18% and 100% to these same classes, respectively, under the
Debtor/Committee/Lender Plan.

The Noteholder Plan should be unattractive to holders of unsecured claims at the Debtor
Subsidiary level who fall within the class of Other Guarantor Debtor Claims. Under the
Noteholder Plan, these creditors will receive an initial distribution of only 8%, with an option to
cash out at 25%, subject to certain dollar caps provided in that plan. Only in certain scenarios
where litigation is successful would creditors in this class receive a full 100% recovery, and that
would likely only occur, if at all, after significant delay in resolving the litigation. In contrast,
under the Debtor/Committee/Lender Plan, general unsecured creditors of the Debtor Subsidiaries
are expected to recover 100% of their allowed claims (assuming, as expected, that allowed
claims against the Debtor Subsidiaries do not exceed $150 million) on or shortly after the
Effective Date of the Debtor/Committee/Lender Plan. Thus, general unsecured creditors of the
Debtor Subsidiaries under the Debtor/Committee/Lender Plan will automatically receive what
they would receive only in a best case scenario under the Noteholder Plan.

B. Recommendation to Reject the Noteholder Plan

In short, the Noteholder Plan is fraught with uncertainty and the attenuating risks, costs
and delay of complex litigation arising from the LBO-Related Causes of Action. By contrast, the
Debtor/Committee/Lender Plan provides very significant initial distributions, while also
providing upside to general unsecured creditors through preservation of certain LBO-Related
Causes of Action. Accordingly, the Creditors' Committee recommends that general unsecured
creditors vote against the Noteholder Plan by checking the box in the purple ballot to "reject"
the plan.

° There may be a dispute at the confirmation hearing as to whether the "put option" concept embodied in the

Noteholder Plan is permissible, and the Creditors’ Committee expressly reserves its rights with respect thereto.
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THE DEBTOR/COMMITTEE/LENDER PLAN IS
A BETTER OPTION THAN THE BRIDGE PLAN

A, The Bridge Plan Is Entirely Illusory Because
the Settlements It Advertises Will Never Take Place

The Creditors' Committee also believes the Bridge Plan's proposed treatment of Non-
LBO Creditors is much less favorable than the treatment provided to Non-LBO Creditors in the
Debtor/Committee/Lender Plan. While the Bridge Plan advertises upfront payments in amounts
exceeding those offered in the Debtor/Committee/Lender Plan, those payments are contingent
upon the Senior Lenders agreeing to receive significantly lower distributions than they would
receive under the Debtor/Committee/Lender Plan. In essence, the Bridge Plan would only
deliver the advertised recoveries if the Senior Lenders were to agree to fund settlements far in
excess of those they have indicated any willingness to fund during all previous negotiations. The
likelihood of the Senior Lenders agreeing to these alternative reduced recoveries is minimal.
Accordingly, the actual initial distributions to Non-LBO Creditors will be minimal and similar to
those offered under the Noteholder Plan.

The Bridge Plan is based on the Noteholder Plan which, as noted above, contemplates
full litigation of the LBO-Related Causes of Action pursuant to a two trust structure. The
Bridge Plan then layers on top of that construct three possible settlements -- a Step One Lenders’
settlement, a Step Two Lenders’ settlement and a Bridge Lenders’ settlement. As part of the
solicitation process, the Step One Lenders, Step Two Lenders and Bridge Lenders each will have
the opportunity to vote to accept or reject the proposed settlements. The settlements are
severable, meaning that even if the Step One Lenders and Step Two Lenders were to vote against
their respective settlements contained within the Bridge Plan, the Bridge Lenders could still vote
in favor of their settlement, entitling them to releases from the LBO-Related Causes of Action
and an upfront cash payment of $125 million. Under the Debtor/Committee/Lender Plan, the
Bridge Lenders are not entitled to any value until the LBO-Related Causes of Action are
resolved, and the Bridge Lenders are instead potential targets of the Litigation Trust.

As noted above, the Non-LBO Creditors' recoveries under the Bridge Plan are contingent
upon the agreement of the Senior Lenders to accept their respective settlements. At a minimum,
the Step One Settlement has to be approved for the Non-LBO Creditors to yield any meaningful
upfront recoveries. At this time, neither the Step One Lenders nor the Step Two Lenders have
agreed to the settlements and the Creditors' Committee believes the chances they will ever do so
are remote, as they would have to agree to receive lower distributions than what they would be
entitled to under the Debtor/Committee/Lender Plan. The additional value promised to the Non-
LBO Creditors under the Bridge Plan depends mainly on the agreement of the Step Two Lenders
to accept lower recoveries than those they would receive under the Debtor/Committee/Lender
Plan. Under the proposed Step Two Settlement under the Bridge Plan, the Step Two Lenders
would receive approximately $500 million less than under the Debtor/Committee/Lender Plan.
The Creditors' Committee believes it unlikely that the Step Two Lenders (a subset of which are
co-proponents of the Debtor/Committee/Lender Plan) will vote in favor of this settlement, and
without their approval, the additional value to Non-LBO Creditors disappears. Moreover,
without the Step Two Settlement, Step One Lenders would receive less value than they would
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receive under the Debtor/Committee/Lender Plan, making it equally unlikely that the Step One
Lenders will vote in favor of the settlement.

Accordingly, the only constituency likely to vote in favor of the Bridge Plan is the Bridge
Lenders. Without approval of the Step One Settlement, the Non-LBO Creditors receive much
less favorable treatment under the Bridge Plan than under the Debtor/Committee/Lender Plan.
Indeed, if the Bridge "settlement" is approved, the Non-LBO Creditors receive even worse
treatment than they would receive under the Noteholder Plan because not only would the LBO-
Related Causes of Action against the Bridge Lenders be released, the Bridge Lenders would in
fact be paid more than they would be entitled to even if their claims were fully allowed.” For
these reasons, the Bridge Plan offers no benefit to Non-LBO Creditors, and in fact could treat
them even worse than the Noteholder Plan.

B. Recommendation to Reject the Bridge Plan

In its most likely form (i.e., without a Step One Settlement and Step Two Settlement), the
Bridge Plan looks like the Noteholder Plan except that the Bridge Lenders propose to release
themselves from LBO-related litigation risk, give themselves $125 million in Cash as an initial
distribution, and retain a 5% interest in the Creditors' Trust. | Unlike under the
Debtor/Committee/Lender Plan, the Non-LBO Creditors have no certainty at this point of
meaningful upfront recoveries under the Bridge Plan. Accordingly, the Creditors' Committee
recommends that general unsecured creditors vote against the Bridge Plan by checking the box in
the green ballot to "reject" the plan.

'0 The proponents of the Bridge Plan do not agree with this statement and have alleged that, if the Bridge Loan

Claims are allowed, then under certain circumstances the Bridge Lenders would be entitled to recover amounts
in excess of $125 million.
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Respectfully,

THE OFFICIAL COMMITTEE OF UNSECURED
OF TRIBUNE COMPANY, ET AL.
elevision, splély iy its capacity as

ice President, t Nort tion & hier Pa Counsel
